 Case 1:16-cr-00144-PLM        ECF No. 37, PageID.75        Filed 08/19/16    Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,
        Plaintiff,
                                                                Hon. Paul L. Maloney
 v.
                                                                Case No. 1:16-cr-00144
 GEMICHEAL MALANGY GARDNER,
        Defendant.
 ________________________________/

                          REPORT AND RECOMMENDATION

       Pursuant to W.D. Mich. L.Cr.R. 11.1, I conducted a plea hearing in the captioned

case on August 19, 2016, after receiving the written consent of defendant and all counsel.

At the hearing, defendant Gemicheal Malangy Gardner entered a plea of guilty to the

Indictment in exchange for the undertakings made by the government in the written plea

agreement. In the Indictment, defendant is charged with being a felon in possession of

a firearm and ammunition in violation of 18 U.S.C. § 922(g)(1). On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the

rights waived by defendant; that it is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; that the defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.

       I therefore recommend that defendant's plea of guilty to the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement
 Case 1:16-cr-00144-PLM         ECF No. 37, PageID.76       Filed 08/19/16     Page 2 of 2




be considered for acceptance at the time of sentencing.           Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.


Date: August 19, 2016                                    /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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